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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

UNITED STATES OF AMERICA

       v.                                        Case No. 8:24-cr-00068-KKM-TGW

TIMOTHY BURKE

              UNITED STATES’ RESPONSE IN OPPOSITION TO
             DEFENDANT’S MOTION TO DISMISS INDICTMENT

       The United States of America submits this response in opposition to

defendant’s Motion to Dismiss Indictment for Failure to State an Actual Violation of

Criminal Law and Incorporated Memorandum of Law in Support (“Motion to Dismiss”)

(doc. 64), filed July 12, 2024. The Motion to Dismiss requests that this Court

consider pretrial the defendant’s proffered “facts” and conclusions and dismiss all the

charged counts of the indictment. Defendant additionally argues that the indictment

is insufficient on its face because it does not explicitly refute potential defenses of the

defendant and requests that this Court conclude that the failure to engage in this

preemptive refutation amounts to a failure to plead key elements.

       In making these requests, the Motion to Dismiss ignores the indictment’s

proper charging language as well as 35 years of binding Eleventh Circuit law. The

motion also ignores any allegations in the indictment that are inconsistent with the

defendant’s proffered “facts” and conclusions.
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       On February 15, 2024, a legally constituted and unbiased federal grand jury

sitting in the Middle District of Florida returned an indictment, charging defendant

with conspiracy and related substantive violations of the Computer Fraud and Abuse

Act (18 U.S.C. § 1030(a)(2)(C)) and the Wiretap Act (18 U.S.C. § 2511(1)(a) and

(1)(c)). Doc. 1. The indictment properly alleges that the defendant committed each of

the essential elements of the crimes charged so that the defendant can prepare his

defense and invoke the double jeopardy clause should he be subsequently prosecuted

for the same criminal conduct. As this is legally sufficient and all that is required, this

Court should decline the defendant’s misguided invitation to engage in a pretrial

evaluation of the defendant’s proffered “facts” and resulting conclusions. To do so in

this context would constitute error. The defendant’s Motion to Dismiss should

therefore be denied.

                              LAW AND ARGUMENT

       A. Summary of Relevant Eleventh Circuit Law

       The sufficiency of an indictment presents a legal question reviewable de novo,

United States v. Pendergraft, 297 F.3d 1198, 1204 (11th Cir. 2002), which the court

must determine by looking solely to the face of the indictment. United States v. Critzer,

951 F.2d 306, 307 (11th Cir. 1992). “An indictment, to be sufficient, must allege that

the defendant committed each of the essential elements of the crime charged so as to

enable the accused to prepare his defense and to invoke the double jeopardy clause in

any subsequent prosecution for the same offense.” United States v. Crippen, 579 F.2d



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340, 342 (5th Cir. 1978);1 see also Hamling v. United States, 418 U.S. 87, 117 (1974);

Critzer, 951 F.2d at 307-08; United States v. Cole, 755 F.2d 748, 759 (11th Cir. 1985).

“It is not necessary for an indictment to go further and to allege in detail the factual

proof that will be relied upon to support the charge[].” Crippen, 579 F.2d at 342. The

test is satisfied as long as the language in the indictment sets forth the essential

elements of the crime. Critzer, 951 F.2d at 307-08. Moreover, constitutional

requirements are met “by an indictment that tracks the wording of the statute, as

long as the language sets forth the essential elements of the crime.” Id. at 308

(quoting United States v. Yonn, 702 F.2d 1341, 1348 (11th Cir. 1983)).

       “An indictment returned by a legally constituted and unbiased grand jury, like

an information drawn by the prosecutor, if valid on its face, is enough to call for trial

of the charge on the merits.” Costello v. United States, 350 U.S. 359, 363 (1956)

(footnote omitted). “Under Fed. R. Crim. P. 12(b) an indictment may be dismissed

where there is an infirmity of law in the prosecution; a court may not dismiss an

indictment, however, on a determination of facts that should have been developed at

trial.” United States v. Torkington, 812 F.2d 1347, 1354 (11th Cir. 1987). In other

words, “[i]n ruling on a motion to dismiss for failure to state an offense, a district

court is limited to reviewing the face of the indictment and, more specifically, the

language used to charge the crimes.” U.S. v. Sharpe, 438 F.3d 1257, 1263 (11th Cir.



       1
         In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh
Circuit adopted as binding precedent all decisions of the former Fifth Circuit handed down prior to
October 1, 1981.
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2006) (emphasis in original). “To permit preliminary trials on essential facts, post-

indictment, would ‘run counter to the whole history of the grand jury institution, . . .

[and] would result in interminable delay but add nothing to the assurance of a fair

trial.’” United States v. Snipes, 611 F.3d 855, 866 (11th Cir. 2010) (quoting Costello, 350

U.S. at 364).

        B. The Motion to Dismiss Improperly Proffers Facts and Conclusions and
           Ignores the Indictment and Controlling Eleventh Circuit Law.

        The arguments raised by the defendant’s Motion to Dismiss attack each of the

charged counts within the indictment by proffering a collection of unsupported

“facts” and conclusions. Defendant also ignores inconvenient factual allegations that

undermine defense theories and instead works to recast the allegations to create a

more defensible case.2

        For example, defendant proffers without support that “participants [in the

wiretap charges] were in a television studio, facing cameras which were on, wearing

lapel microphones, with boom microphones, ready to transmit their conversations

worldwide.”3 Doc. 64 at 9–10. In making this argument, defendant ignores the


        2
          The Motion to Dismiss follows the ongoing defense practice of disregarding the actual
indictment language and charges returned by the grand jury and instead attempting to recast the
indictment, or some aspect(s) thereof, to fit a defense argument, theory, or technological philosophy.
See e.g. Doc. 51, Page 3 (“This case is at the core about journalism . . .”); and Doc 62, para. 13 (“A
hard-to-guess URL is still a URL . . . [and is] accessible to the world”) (quoting a secondary source
law review essay by Orin Kerr advocating for courts to adopt a specific legal viewpoint).
        3
         Notably, notwithstanding that the Motion to Dismiss (doc. 64) correctly recognizes that the
Court “cannot [in a pretrial setting] determine the adequacy of the evidence in a criminal case (Id. at
4) (quoting United States v. Salman, 378 F.3d 1266, 1269 (11th Cir. 2004)), the motion immediately
proceeds to inappropriately proffer many additional unsupported “facts” that are not contained
within the four corners of the indictment, including: (1) allegations that the charges in the indictment
derive their import because they involve wire communications “that would be embarrassing” to
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distinctions within the statute between oral, wire, and electronic communications.

The indictment alleges interception (in the conjunctive) of oral, wire, and electronic

communications in Counts Eight through Twelve. Unlike the definition of “oral

communication,” the definitions of “wire” and “electronic” communications4 do not

include any requirement that the parties to the communication exhibit a reasonable

expectation that the communication is not subject to interception.

       Defendant also proffers without support that “the live video feeds allegedly

intercepted were publicly and readily accessible.”5 Doc. 64 at 11. This proffered

“fact” is not present within the indictment and serves only to bolster the self-serving

conclusions of defendant’s legal theories.

       Defendant wrongly attempts throughout the motion to inject additional

proffered “facts” into the analysis, including:

             1. In the context of the intercepted wire communications, defendant states
                “No user id or password was required. No special configuration. [The
                streams] were not encrypted. There were no limitations in ‘Terms of
                Use’.” (Id. at 11);




individuals who engage in polemical speech (Doc. 64 at 4); (2) use of “published credentials found
online” to access materials found on a National Sports League (NSL) server (Id. at 4); (3)
classification of “BID(s)” as a type of web address and alleging these were “automatically
downloaded to him” (Id. at 10).
       4
           18 U.S.C. § 2510(1), (2), and (12).
       5
          The government contends that the evidence at trial would refute defendant’s assertion that
the video feeds were “publicly and readily accessible” and has previously stated that given the
algorithmically generated “BIDs” and structure of the Uniform Resource Locators (URLs) at issue
in this case, even assuming knowledge of the structure of the URLs, the approximate odds of
guessing a valid 15-character BID is 1 in 999,999,900,000,000. See doc. 52 n. 2.


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           2. That the credentials alleged in the indictment to have been used without
              authorization by the defendant in Count(s) Four through Seven, were
              obtained by the defendant by means “shared by its owner to a public
              website that was freely accessible” (Id. at 13–17);6

           3. That the “BID’s” obtained by the defendant as part of the charges in
              Counts Four through Seven were “automatically downloaded” to him
              (Id. at 10); and

           4. That the defendant and co-conspirator Gaudino conspired to “find
              publicly accessible passwords and use them” (Id. at 23).7

Based upon the defendant’s proffered “facts” and conclusions and his patchwork

misinterpretation of the indictment, the defendant argues that the indictment fails as

a matter of law. Id. at 1.

       To support his arguments, defendant completely ignores the allegations

contained within the Manner and Means and Overt Acts sections the indictment. For

example, defendant ignores the allegations that defendant and coconspirator

Gaudino coordinated with one another to search protected computers to secure

credentials belonging to others and used them without authorization to gain access to

protected computers, whereupon the defendant and co-conspirator Gaudino

obtained and stole electronic items and information without authorization or


       6
           As the government has stated in previous memoranda before this Court, this particular
contention by the defendant stands at direct factual odds with the allegations within the indictment,
as well as the evidence the government anticipates eliciting at trial. The government anticipates that
the trial evidence will show that defendant obtained these credentials from his coconspirator with
knowledge that they did not have authorization to use them, rather than from the radio website. See
Doc. 63 at 16.
       7
         Marco Gaudino has pleaded guilty for his role as a coconspirator in these offenses. In his
plea agreement, Gaudino acknowledged and admitted to a factual basis which explained that these
credentials were not obtained from publicly accessible sources and that neither he, nor to his
knowledge Mr. Burke, had authorization to utilize these credentials. See also, Doc. 63 at 10.
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permission. Doc. 1 at 8–9. Defendant likewise breezes past that he is alleged to have

exploited the stolen information and knowledge unlawfully obtained from these

protected computers which provided him an ability he otherwise did not possess, that

being to intercept statutorily protected communications as they were being

transmitted, unlawfully recording those transmissions, and then unlawfully

disclosing them to others. Id. at 10. Most critically, the defendant also ignores that

the indictment properly tracks all the key statutory language and sets forth the

essential elements of each of the crimes charged.

       In asking the Court to dismiss the indictment pretrial based upon proffered

“facts” and conclusions, the Motion to Dismiss ignores 35 years of controlling

Eleventh Circuit law. Indeed, notwithstanding that the Motion to Dismiss argues

that defendant is entitled to relief as a “matter of law” and upon Constitutional

grounds, doc. 64 at 1, the motion is actually based upon proffered “facts” not

contained upon the face of the indictment. Defendant’s motion does not even

mention seminal cases such as Torkington, Critzer, or Sharpe, all binding Eleventh

Circuit decisions, in addition to Salman, directly addressing a pretrial motion to

dismiss. Respectfully, this Court should decline the defendant’s misguided invitation

to engage in a pretrial evaluation of the defendant’s unsupported version of the

“facts” and self-serving conclusions. At this point in the proceedings, such is not the

role of the Court, and it would be error to do so. See, e.g., Critzer, 951 F.2d at 308; and




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U.S. v. Brantley, 461 Fed.Appx. 849 (11th Cir. 2012). Of course, precisely what form

that evidence ultimately will take at trial is unsettled.8

       Settled law makes clear that a trial court may not take into account the legal

sufficiency of the underlying facts supporting the indictment when ruling on a

motion to dismiss. Salman, 378 F.3d at 1266. In Salman, the trial court had dismissed

an indictment “based on certain undisputed facts [demonstrating that] Salman was

not ‘illegally or unlawfully in the United States’ as a matter of law at the time of his

arrest,” as charged in the indictment. Id. at 1267. On appeal, the Eleventh Circuit

reversed the dismissal “for procedural reasons” (emphasis added):

       By looking beyond the face of the indictment and ruling on the merits of the
       charges against Salman, the district court in effect granted summary judgment
       in favor of the defendant. In so doing, the district court overlooked binding
       precedent from this court. . . . ‘There is no summary judgment procedure in
       criminal cases. Nor do the rules provide for a pre-trial determination of the
       sufficiency of the evidence. . . . The sufficiency of a criminal indictment is
       determined from its face. The indictment is sufficient if it charges in the language
       of the statute.’

Id. at 1267-68 (citations omitted) (quoting in part Critzer, 951 F.2d at 307). The

appellate court continued:

       There is no dispute that the government properly indicted Salman for an
       alleged violation of § 922(g)(5)(A). Because Salman was properly indicted, the
       government is entitled to present its evidence at trial and have its sufficiency
       tested by a motion for acquittal pursuant to Federal Rule of Criminal
       Procedure 29. A motion for acquittal under Rule 29 is the proper avenue for
       contesting the sufficiency of the evidence in criminal cases because there is no
       explicit authority to grant a pre-trial judgment as a matter of law on the merits
       under the Federal Rules of Criminal Procedure.



       8
          Obviously, the government does not believe or concede that the evidence developed at trial
will be consistent with defendant’s unsupported version of the “facts” proffered in the Motion to
Dismiss.
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Id. at 1268 (citations omitted); see also Id. at 1268 n. 5 (“[T]here is currently no

authority within the Federal Rules of Criminal Procedure for granting a motion to

dismiss predicated on the insufficiency of the evidence, whether it be based in fact or

law.”) (emphasis added).

       Similarly, in Critzer, the Eleventh Circuit reversed the dismissal of an

indictment premised on the supposed insufficiency of proffered facts rather than

insufficiency of the indictment itself. There, the defendant had moved to dismiss an

indictment, asserting that it was too vague to allege violations of federal law. Critzer,

951 F.2d at 307. The defendant had also sought a bill of particulars. Id. The

government responded that the trial court should not look beyond the face of the

indictment in determining the indictment’s sufficiency, but it also listed the facts it

expected to prove at trial and explained how those facts constituted the offenses

charged. Id. The trial court then “looked beyond the face of the indictment and

considered the facts proffered by the government [and] determined that, assuming

the facts to be true, defendant’s actions did not constitute a violation of federal

law[,]” and dismissed the indictment. Id. The appellate court reversed the dismissal

of the indictment. Even though the government had issued an “implied invitation to

the district court” to pierce the language of the indictment, the indictment itself was

legally sufficient (as it tracked the statutory language). Id. at 307-308. Therefore, the

trial court had erred by dismissing the indictment, and the appellate court reversed

the dismissal. Id.


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       In short, the defendant’s Motion to Dismiss simply ignores: (1) that the

 indictment properly alleges that the defendant committed each of the essential

 elements of the crimes charged, (2) allegations in the indictment that are inconsistent

 with defendant’s proffered “facts” and conclusions, and (3) 35 years of binding

 Eleventh Circuit precedent. Instead, the Motion to Dismiss rests upon its own

 proffered “facts” applied in the context of desired (rather than actual) charging

 language. That is not allowed. The defense will have ample opportunity before a jury

 to challenge or develop facts in defense of the charged conduct. The Motion to

 Dismiss should be denied.

       C. The Defendant Improperly Argues Insufficiency of the Indictment for
          Failure to Recite Affirmative Defenses as Elements.

       Not only does the defendant improperly ask this Court to consider proffered

 “facts” not contained within the indictment, he also improperly argues the

 indictment is fatally flawed for its failure to plead elements. Specifically, the Motion

 to Dismiss intersperses claims that the absence of certain pleaded facts in the

 indictment amounts to a failure to plead key elements. This is false.

       For example, the defendant claims that the government must plead “lack of

 consent” as an element of the offense of interception of wire and electronic

 communications under 18 U.S.C. § 2511. Doc. 64 at 9. The defendant argues that

 failure to do so renders all manner of commonplace activities, such as “watching

 TV” or “having a Zoom meeting” illegal, and that Constitutional harms result from

 not explicitly refuting a defense of consent within the text of the indictment. Id. at 8–

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 9. Defendant also claims that another “element” of § 2511 that must be pleaded on

 the face of the indictment is that a wire or electronic communication must not be

 “readily accessible to the general public.” Id. at 11.

       Controlling Eleventh Circuit case law distinguishes between “elements” of a

 criminal offense versus affirmative defenses using a three-part inquiry seminally laid

 out in U.S. v. McArthur, 108 F.3d 1350 (11th Cir. 1997). The Court explained the

 three-part inquiry as follows:

               To determine whether an exception to a criminal offense is an element
       of the crime or an affirmative defense, we undertake a three-part inquiry. We
       begin with the language and structure of the statute. Next, we examine the
       legislative history of the provision. United States v. Laroche, 723 F.2d 1541, 1543
       (11th Cir.) (following United States v. Mayo, 705 F.2d 62 (2d Cir.1983)), cert.
       denied, 467 U.S. 1245, 104 S.Ct. 3521, 82 L.Ed.2d 829 (1984). Finally, we
       decide whether the defendant or the government is better situated to adduce
       evidence tending to prove or disprove the applicability of the exception. United
       States v. Jackson, 57 F.3d 1012, 1016 (11th Cir.), cert. denied, 516 U.S. 970, 116
       S.Ct. 432, 133 L.Ed.2d 346 (1995).

 Id. at 1353. The Court then noted two interpretive presumptions that guide the Court

 in making these distinctions:

               With regard to the language and structure of the statute, we are guided
       by two interpretive presumptions. First, a narrow proviso to a more general
       statutory offense is more likely to be an affirmative defense than an element of
       the offense. As the Supreme Court has stated, “an indictment ... founded on a
       general provision defining the elements of an offense ... need not negative the
       matter of an exception made by a proviso or other distinct clause, whether in
       the same section or elsewhere. ... ” McKelvey v. United States, 260 U.S. 353, 357,
       43 S.Ct. 132, 134, 67 L.Ed. 301 (1922). A second, but related, rule is that where
       one can omit the exception from the statute without doing violence to the
       definition of the offense, the exception is more likely an affirmative defense.
       Thus, in United States v. Outler, 659 F.2d 1306, 1309–10 (5th Cir. Unit B Oct.
       1981), cert. denied, 455 U.S. 950, 102 S.Ct. 1453, 71 L.Ed.2d 665 (1982), we
       explained that where “an exception ... [is] so necessary to a true definition of
       the offense ... the elements of the crime are not fully stated without the
       exception.”

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 Id. at 1353. The Court has continued to uphold this framework in distinguishing

 between elements and affirmative defenses, and McArthur is still good law. See United

 States v. Shamsid-Deen, 61 F.4th 935 (11th Cir. 2023).

       Applying McArthur and its progeny to defendant’s arguments, the exceptions

 to the wiretap statute (18 U.S.C. § 2511) are numerous but narrow provisos (see 18

 U.S.C. § 2511(2)(a)–(j)). It’s preposterous to think that the government must

 negatively allege as elements, and then disprove, a medley of narrow exceptions,

 ranging from the rights of service providers, the authority of the Federal

 Communications Commission (FCC), the exclusion of certain radio bands, and

 exceptions under the Foreign Intelligence Surveillance Act (FISA).

       The “consent” exceptions (§ 2511(2)(c) and (2)(d)), and the “readily accessible

 to the general public” exception (§ 2511(2)(g)(i)), are part of this group of narrow

 exceptions, and they fall within the language of McArthur. These exceptions can be

 omitted from the elements without violence to the definition of the offenses of either

 interception or disclosure. The defendant’s claim that these affirmative defenses must

 be pleaded as necessary elements is without merit and should be rejected.

       D. The Defendant Misapplies Bartnicki, Van Buren, and Associated Case Law.

       In addition to the many unsupported “facts” defendant raises in his Motion to

 Suppress, the motion also asks the Court to misapply the law in support of reaching a

 dismissal of the indictment.




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        Bartnicki v. Vopper

        As related to the counts of unlawful disclosure of statutorily protected

 communications (Counts Thirteen and Fourteen), defendant argues that his

 disclosure is not a crime due to his intent to publish the material, citing Bartnicki v.

 Vopper, 121 S.Ct. 1753 (2001). Specifically, defendant claims that his disclosure of

 intercepted communications is never a crime because publication of truthful

 newsworthy information, regardless of the circumstances by which that information

 is obtained, is protected speech under the holding in Bartnicki. Doc 64 at 6.

        As discussed by the government in an earlier reply brief, see doc. 52 at 11–12,

 the defendant’s conduct as alleged within the four corners of the indictment is readily

 distinguishable from the conduct at issue in Bartnicki. In Bartnicki, the Supreme Court

 explicitly noted that, in New York Times v. United States, 403 U.S. 713 (1971), it had

 previously “upheld the right of the press to publish information of great public

 concern obtained from documents stolen by a third party.” Bartnicki, 121 S.Ct. at 1761

 (emphasis added). The Supreme Court then clarified the issue presented by Bartnicki:

 “Where the publisher of information has obtained [it] in a manner lawful in itself but

 from a source who has obtained it unlawfully, may the government punish

 [subsequent] publication of that information based on the defect in a chain?” Id. at

 1762 (emphasis added).

        The Motion to Dismiss misstates both the question presented in Bartnicki and

 its holding. The defendant contends that the framing of the issue presented in


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 Bartnicki is not as quoted in the case by the Supreme Court; rather, defendant believes

 that Bartnicki answers the question: “Where the publisher of information has

 obtained [it] in a manner lawful in itself but from a source who has obtained it

 unlawfully, may the government punish [subsequent] publication of that information

 based on the defect in a chain?” This framing is patently inaccurate and lends itself to

 absurd conclusions.

       As alleged within the four corners of the indictment, the grand jury found

 probable cause to believe that defendant himself, not some other source, personally

 violated 18 U.S.C. § 2511 when he intercepted the materials that form Counts Eight

 through Twelve of the indictment. In other words, defendant acted in both the role of

 the “source” in Bartnicki who initially obtained the information unlawfully and the

 discloser of the unlawfully intercepted material. This is distinguishable from the

 “clean hands” of the publisher in Bartnicki. Defendant’s contention that Bartnicki’s

 holding is that an individual, even a purported journalist, can personally unlawfully

 intercept a wire or electronic communication and then be immune from prosecution

 under 18 U.S.C. § 2511(1)(c) for their willful disclosure of that wire communication

 on public policy grounds favoring the public interest in publication of newsworthy

 material, see Doc. 64, n. 7, is not consistent with the law.

       The First Amendment explicitly protects the freedom of the press, and

 Bartnicki rightfully gives meaning to that freedom by barring prosecution of

 journalists who publish information in good faith and in support of the public


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 interest, but importantly, to be consistent with Bartnicki, the publisher must have clean

 hands. To assert otherwise runs counter to fundamental principles of jurisprudence.

 As recognized by the Supreme Court in Branzburg v.Hayes, 408 U.S. 665, 691 (1972),

 it would be “frivolous” to assert—much less hold—that a reporter or his sources

 would have a “license . . . to violate valid criminal laws.”

       Van Buren v. United States

       The defendant also overstates and misapplies the law and the conclusions in

 Van Buren v. United States, 593 U.S. 374, 141 S.Ct. 1648 (2021), in arguing that Van

 Buren effectively reversed Eleventh Circuit case law holding that “downloading and

 obtaining information from protected computers” is unlawful under the Computer

 Fraud and Abuse Act of 1986 (“CFAA”). Doc. 64 at 18.

       Based upon the added “fact” (contrary to the allegations in the indictment)

 that defendant had an implicit authorization or license to use the compromised

 credentials he obtained to access various protected computers, the defendant asserts

 that the holding in Van Buren narrows the inquiry of the courts by defining

 “exceeding authorized access” as limited to a question of whether a defendant

 “broke into the computer” rather than whether there was an authorization to obtain

 the information therein. Id. at 18.

       The represented holding in Van Buren is incomplete and misleading as

 presented in Burke’s motion. Section 1030(a)(2)(C) is drafted in the disjunctive and

 can be violated in two different ways (emphasis added): a person can violate the


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 statute by “intentionally access[ing] a [protected] computer without authorization or

 exceed[ing] authorized access, and thereby obtain[ing]” information. The Supreme

 Court in Van Buren addressed only the second prong of § 1030(a)(2), the scenario in

 which a person has some level of authorization to access a computer, but then

 exceeds the scope of that authorization to access other areas of the computer. Van

 Buren, 141 S.Ct. 1648 at 1650. There, the Supreme Court determined that the CFAA

 does not extend to an individual who has an improper purpose for retrieving

 information from a computer system that is otherwise available to that individual. Id.

 at 1662. Therefore, the second prong of § 1030(a)(2) covers those who access a

 computer system with authorization but then obtain information located in areas of

 the system that are off limits. Id. Van Buren, however, had no impact on the first prong

 of § 1030(a)(2),9 and the defendant’s conduct as described in the indictment—

 accessing the NSL FTP server and the StreamCo password-protected website using

 credentials assigned to others without authorization and thereby obtaining and

 stealing information from those protected computers—violates that first prong.

 Because the indictment alleges the defendant’s violation occurs under the first prong

 of unauthorized access, rather than the second prong for exceeding authorized




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          The elements of a violation of the first prong of 18 U.S.C. § 1030(a)(2)(C) are that: (1) the
 defendant intentionally accessed a computer without authorization; (2) when the defendant accessed
 the computer, the defendant obtained information therefrom; and (3) the computer accessed was a
 protected computer. 18 U.S.C. § 1030(a)(2)(C); and see Eleventh Circuit Jury Instructions
 (Criminal), Instruction O42.2 (modified).


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 access, Van Buren is inapplicable, and is misapplied by the defendant as a basis for

 dismissal of the indictment.

        E. The Indictment is Legally Sufficient

        Here, the defendant is charged in Count One of the indictment with

 conspiring, in violation of 18 U.S.C. § 371, to commit certain offenses against the

 United States, namely to violate 18 U.S.C. §§ 1030(a)(2)(C), 2511(1)(a), and

 2511(1)(c). Doc 1 at ¶ 21. Per the pertinent language of 18 U.S.C. § 371:

        If two or more persons conspire either to commit any offense against the
        United States, or any agency thereof in any manner or for any purpose, and
        one or more of such persons do any act to effect the object[s] of the
        conspiracy, each shall be fined under this title or imprisoned not more than
        five years, or both.

 The conspiracy charged in Count One properly tracks the relevant statutory language

 and cites the statutes violated. Count One also alleges the various manner and means

 by which conspirators sought to accomplish the objects of the charged conspiracy (Id.

 at ¶ 22(a)–(l)) and lists 33 overt acts committed by one or both of the conspirators to

 effect its objects. Id. at ¶ 23(a)–(k).




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        Likewise, Counts Two and Three,10 Count Four, Counts Five through Seven,

 Counts Eight through Twelve,11 and Counts Thirteen and Fourteen12 also properly

 track the statutory language and cite the relevant statutes. Additionally, the

 indictment is not a ‘bare bones’ accusation which is limited to the language of the

 charging statutes. The introductory paragraphs (doc. 1, ¶ 1–20), together with the

 Manner and Means section contained within Count One, offer a detailed

 background relevant to all charged counts. In doing so, the indictment more than

 sufficiently apprises the defendant with enough precision to prepare his defense,

 minimize surprise at trial, and enable him to plead double jeopardy in the event of a

 later prosecution. The indictment is therefore legally sufficient.



        10
           Elements for a violation of 18 U.S.C. § 1030(a)(2)(C) include: “Whoever— (1)
 intentionally (2) accesses a computer without authorization or exceeds authorized access, and (3)
 thereby obtains— information (4) from any protected computer . . . the punishment for an offense
 under subsection (a) or (b) of this section is—

     As to Count Two and Three, the penalty provision provides under subection (2)(A): “a fine
     under this title or imprisonment for not more than one year, or both[.]”;

     As to Count Four, the penalties are enhanced for an individual where “the offense was
     committed for purposes of commercial advantage or private financial gain” (subsection
     (c)(2)(B)(i)) and (c)(2)(B)(ii), consistent with the language directly below concerning Counts
     Five through Seven;

     As to Counts Five through Seven, the penalties are enhanced for an individual where “the
     offense was committed in furtherance of any criminal or tortious act in violation of the
     Constitution or laws of the United States or of any State” (subsection (c)(2)(B)(ii)).
        11
            Per 18 U.S.C. § 2511(1)(a): “. . . any person who— intentionally intercepts, endeavors to
 intercept, or procures any other person to intercept or endeavor to intercept, any wire, oral, or
 electronic communication[.]”
        12
            Per 18 U.S.C. § 2511(1)(c): “. . . any person who— intentionally discloses, or endeavors to
 disclose, to any other person the contents of any wire, oral, or electronic communication, knowing
 or having reason to know that the information was obtained through the interception of a wire, oral,
 or electronic communication in violation of this subsection[.]”
                                                  18
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                                  CONCLUSION

       Wherefore, for all the reasons set forth above, the defendant’s Motion to

 Dismiss is without merit and should be denied.

                                        Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2024, I electronically filed the foregoing with

 the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to counsel for the Defendant.




                                         /s/ Jay G. Trezevant
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                                         Assistant United States Attorney
